Case 2:04-cr-20424-.]PI\/| Document 60 Filed 05/04/05 Page 1 of 2 Page|D 86

FHED HF F yiKC.

IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE __q. _ § _ l
wEsTERN DIvIsION 05 ‘m! h -H*!G' 04

 

 

UNITED sTATEs oF AMERICA §

Plaintiff, §
vs. § CR. No, 04-20424-1\/11
LATONYA R. sTEPHENS ))

Defendant. §

 

ORDER ON CHANGE OF PLEA

 

This Cause came to be heard on May 3, 2005, the United States Attorney
for this district, Carroll Andre, appearing for the Government and the
defendant, Latonya R. Stephens, appearing in person and with counsel, Robert
Irby, who represented the defendant.

With leave of the Conrt, the defendant Withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, JUL¥ 26, 2005, at 8:45
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present hond.

ENTERED this the \Eb day of May, 2005.

_ @m‘@l@

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

;\;omQ§F“
, `\"¢u'(@\ amer-lig v 05
du "‘-") _\ N///
, ,.-\i"»;`;-‘J" , _.` 0
,`..A.l"-\-_ ,- l -}\\JTP
\.\,,`;`r`~_ wlde ` § mqu 32\‘0`| F[

. §§ a \_

. \_1 6 w

,\'\.\"\E

UNITED sTATE DRISTIC COUR - W"'ERNT D's'TRCT oFTENNEssEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20424 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

i\/lemphis7 TN 38111

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

